                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SPN/RCH/HDM                                        271 Cadman Plaza East
F. #2018R01309                                     Brooklyn, New York 11201


                                                   July 27, 2021

By ECF

The Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Thomas Joseph Barrack, et al.
                      Criminal Docket No. 21-371 (BMC)              .

Dear Judge Cogan:

               The government respectfully submits, pursuant to Rule 16(d)(1) of the Federal
Rules of Criminal Procedure, a stipulated protective order that limits the disclosure of certain
sensitive material in the above-referenced case. Due to the nature of the conduct at issue in
this matter, unrestricted disclosure of certain information could impede ongoing law
enforcement investigations, including with respect to the fugitive defendant in this matter.
Accordingly, the government and counsel for the defendant have jointly agreed to a stipulated
protective order, which is attached hereto. For the foregoing reasons, the government
respectfully requests that the Court so-order the attached stipulated protective order.

                                                   Respectfully submitted,

                                                   JACQUELYN M. KASULIS
                                                   Acting United States Attorney

                                            By:      /s/
                                                   Ryan C. Harris
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                                                   Hiral D. Mehta
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cc:    Matthew Herrington, Esq. (by ECF)
       Clerk of the Court (BMC) (by ECF)
